                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                           GALVESTON DIVISION

Paul E. Dilocker

v.                                         Case Number: 3:19−cv−00344

Bluestem Brands, Inc.




                            NOTICE OF RESETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN SET FOR
THE PLACE, DATE AND TIME SET FORTH BELOW.


Before the Honorable
Andrew M Edison
PLACE:
7th Floor Courtroom
United States Post Office and Courthouse
601 Rosenberg
Galveston, TX 77550
DATE: 2/26/2020

TIME: 09:30 AM
TYPE OF PROCEEDING: Initial Conference
Order for Initial Conference − FORM − #4


Date: January 28, 2020
                                                     David J. Bradley, Clerk
